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                United States Court of Appeals
                           FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                    ____________
No. 23-7071                                               September Term, 2023
                                                                  1:14-cv-01904-EGS-ZMF
                                                      Filed On: January 3, 2024
Eugene Nyambal,

             Appellant

      v.

Allied Barton Security Services, LLC,

             Appellee


      BEFORE:       Srinivasan, Chief Judge, and Henderson, Millett, Pillard, Wilkins,
                    Katsas, Rao, Walker, Childs, Pan, and Garcia, Circuit Judges

                                        ORDER

      Upon consideration of the petition for rehearing en banc, and the absence of a
request by any member of the court for a vote, it is

      ORDERED that the petition be denied.

                                        Per Curiam


                                                        FOR THE COURT:
                                                        Mark J. Langer, Clerk

                                                BY:     /s/
                                                        Daniel J. Reidy
                                                        Deputy Clerk
